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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                             Plaintiff,     )                 8:17CR104
                                            )
                       vs.                  )
                                            )
JOY RAMOS,                                  )                   ORDER
OSCAR MACIAS,                               )
                                            )
                         Defendants.


       This matter is before the court on defendant Joy Ramos’ unopposed Motion to
Continue Trial [80]. Counsel needs additional time to prepare for trial and to conduct
plea negotiations. Defendant=s counsel represents that defendant consents to the
motion and acknowledges he understands the additional time may be excludable time for
the purposes of the Speedy Trial Act. For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [46] is granted as follows:

      1. The jury trial, for both defendants, now set for November 27, 2017, is
      continued to January 8, 2018.

      2. In accordance with 18 U.S.C. ' 3161(h)(7)(A), the court finds that the ends of
      justice will be served by granting this continuance and outweigh the interests of the
      public and the defendant in a speedy trial. Any additional time arising as a result
      of the granting of this motion, that is, the time between today=s date and January
      8, 2018, shall be deemed excludable time in any computation of time under the
      requirement of the Speedy Trial Act. Failure to grant a continuance would deny
      counsel the reasonable time necessary for effective preparation, taking into
      account the exercise of due diligence. 18 U.S.C. ' 3161(h)(7)(A) & (B)(iv).

      DATED November 20, 2017.

                                    BY THE COURT:


                                    s/ Michael D. Nelson
                                    United States Magistrate Judge
